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INDIANA COMMERCIAL COURT

STATE OF INDIANA ) IN THE MARION SUPERIOR COURT
) SS:
COUNTY OF MARION ) CAUSE NO: 49D-01-1807-PL-026160
Sl FILED
Plaintiff, ) gta bata)
) CLERK OF THE COURT
v ) MARION COUNTY
: RB
)
ST. VINCENT MEDICAL GROUP, )
INC., ST. VINCENT CARMEL )
HOSPITAL, INC., and HANNAH )
THORNTON, R.N., N.P., )
)
Defendants. )

ORDER GRANTING PLAINTIFF’S MOTION TO FOR PROTECTIVE ORDER
TO DESIGNATE AND TREAT COUNSELING AND TREATMENT RECORDS
AS ATTORNEY EYES’ ONLY

Plaintiff ee filed her Motion for Protective

Order to Designate and Treat Counseling and Treatment Records as Attorney Eyes’ Only. And

the Court, being duly advised in the premises, now finds that said Motion should be GRANTED.

IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED by the Court that the
following documents shall be designated and treated by the parties or non-parties as “Attorneys’
Eyes Only” for purposes of their use and disclosure in this case:

A. eS complete assessment, treatment and/or counseling records from
Positive Sobriety Institute (“PSI”) or any affiliate of PSI;

B. Documents and records relating to ae utilization of services from the
Indiana State Medical Association (“ISMA”), including but not limited to any
referrals for evaluation and treatment, and all communications between aa
and ISMA; and

EXHIBIT C
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C. Any other mental health, psychological, substance abuse and/or addiction treatment

and/or counseling records of [cepa

The parties and all persons subject to this Order agree that the above information
designated as “ATTORNEYS’ EYES ONLY” may only be disclosed to, accessed or reviewed by
the following:

1. The Court, its personnel, and court reporters;

2. Counsel of record for any party in this action and their employees who assist
counsel of record in this action and are informed of the duties hereunder;

3. The following representatives for each party, who must also sign an
acknowledgement to be bound to these terms:

a. For Plaintiff: N/A
b. For Defendant(s): [identify in-house attorney]

4. Experts or consultants employed by the parties or their counsel for purposes of
this action, so long as each such expert or consultant has signed an
acknowledgment to be bound to these terms; and

5. Other witnesses or persons to whom the Designating Party agrees in advance
of disclosure or by court order.

Defendants’ counsel shall return all documents marked as “Attorneys’ Eyes Only” to
Plaintiff's counsel within ten (10) days of the dismissal of this action or expiration of all
deadlines for appeal.

All terms of the Stipulated Protective Order entered by the Court on December 7, 2018,

remain in effect and are incorporated by reference herein.

The Court finds that Dr. Shoemaker, Chief Med. Officer of SVMG and Dr. Priddy, Former
Chief Med. Officer of SVCH may view these senstive documents as representatives of
the Defendant but the Court DENIES the request that Nurse Thornton view these

highly senstive records
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So Ordered.

DATED:__ January 3, 2019 Moa ttt &. Weber

The Hon. Heather A. Welch
Marion Superior Court No. |

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